     Case 2:16-cv-06425-GW-JC Document 15 Filed 01/24/17 Page 1 of 2 Page ID #:42




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5

6                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
7

8                                                  Case No.: 2:16-CV-06425-GW-JC
     BRIANA VALDEZ,
9
                   Plaintiff,
10
            vs.                                    STIPULATION OF DISMISSAL
11                                                 OF DEFENDANT CITIBANK, N.A.
                                                   WITH PREJUDICE
12
     CITIBANK, N.A.,
13                Defendant.
14

15
            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, Briana
16
     Valdez, and Defendant, Citibank, N.A., by and through undersigned counsel, hereby
17
     stipulate that this action and all claims and defenses asserted therein be dismissed with
18
     prejudice, with each party bearing their own attorneys’ fees, costs and expenses.
19
     Respectfully submitted this 24th day of January, 2017.
20

21   By:/s/ Stuart Price                               By: Michael D. Schulman (w/consent)
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                                       STIPULATION OF DISMISSAL
                                                 -1-
     Case 2:16-cv-06425-GW-JC Document 15 Filed 01/24/17 Page 2 of 2 Page ID #:43



                                  CERTIFICATE OF SERVICE
1

2
            I hereby certify that on January 24, 2017, I electronically filed the foregoing with
3
     the Clerk of the Court using the ECF system, which will send notice of such filing to all
4
     attorneys of record in this matter. Since none of the attorneys of record are non-ECF
5

6    participants, hard copies of the foregoing have not been provided via personal delivery or

7    by postal mail.
8

9
     /s/ Florence Lirato
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                                       STIPULATION OF DISMISSAL
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